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                                 UNITED STATES DISTRICT COURT
                                   DISTRICT OF CONNECTICUT

JACK H. JACOBS,                                      )      CIVIL ACTION NO.
                                                     )
                   Plaintiff,                        )
                                                     )
v.                                                   )
                                                     )
ANDREW T. OSINSKI, and                               )
O&J INVESTMENTS, LLC,                                )
                                                     )
                   Defendants.                       )      JANUARY 5, 2005

                          NOTICE OF REMOVAL TO DISTRICT COURT

          PLEASE TAKE NOTICE that ANDREW T. OSINSKI (“OSINSKI”), a Defendant in the

above-referenced matter, by and through his undersigned counsel, hereby removes this action to

the United States District Court for the District of Connecticut, from the Connecticut Superior

Court for the Judicial District of Stamford/Norwalk, where the action is now pending. In support

of this removal, the Defendant represents as follows:

          1.       The Plaintiff, JACK H. JACOBS (“JACOBS”), commenced this action against

the Defendant, OSINSKI, and O&J INVESTMENTS, LLC (“O&J”), by Summons and

Complaint, Dissolution of Company and Appointment of Receiver returnable to the Connecticut

Superior Court for the Judicial District of Stamford/Norwalk at Stamford on December 21,

2004. A copy of the Summons and Complaint is attached hereto as Exhibit “A” and made a part

hereof.

          2.       Together with the Complaint JACOBS also filed an Application for Dissolution

of Company and for Appointment of Receiver together with an Order to Show Cause. The
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Connecticut Superior Court has scheduled a hearing on the Order to Show Cause for January 24,

2005 at 9:30 a.m. A copy of the Application and Order is appended to the Notice of Pending

Motions submitted herewith. No other Motions have been filed with the Connecticut Superior

Court.

         3.       The Defendants, OSINSKI and O&J, were served with a copy of the Summons

and Complaint on December 9, 2004.

         4.       This Notice of Removal is timely filed within 30 days of December 9, 2004,

pursuant to 28 U.S.C. Section 1446(b).

         5.       As alleged in the Complaint, the Plaintiff, JACOBS, is a resident of the State of

New Jersey residing at 101 Oaks Road, Millington, New Jersey (Complaint, Para. 1).

         6.       As alleged in the Complaint, the Defendant, OSINSKI, is a resident of the State of

Connecticut residing at 17 Tokeneke Trail, Darien, Connecticut (Complaint, Para. 2).

         7.       As alleged in the Complaint, the Defendant, O&J, is a limited liability company

organized under the laws of the State of Connecticut with a principal office at 17 Tokeneke Trail,

Darien, Connecticut.

         8.       The amount in controversy exceeds $75,000.00, in that O&J has assets with

values in excess of the jurisdictional limits, including two properties in Darien, Connecticut

(Complaint, Para. 6).

         9.       This Court has jurisdiction over this action in that this is a civil action over which

this Court would have had original jurisdiction pursuant to 28 U.S.C. Section 1332(a)(3),
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because it is an action between citizens of different states and the amount in controversy exceeds

$75,000.00, exclusive of costs and interest.

       10.     Moreover, there is a prior pending action filed by OSINSKI against JACOBS

filed in the Connecticut Superior Court, DN CV 04 4002003 S, regarding similar issues,

including the management of O&J. That action was removed by JACOBS to this Court where it

is presently pending and assigned Civil Action No. 3:04CV01993 (AWT).

       11.     As alleged in the Complaint, JACOBS and OSINSKI are both managing members

of O&J, and JACOBS served O&J by serving OSINSKI’s counsel (Complaint, Para. 7). As a

managing member of O&J, OSINSKI consents to, supports and joins in the removal of this

action to this Court on behalf of O&J.

       WHEREFORE, the Defendant, OSINSKI, respectfully removes this from the Connecticut

Superior Court for the Judicial District of Stamford/Norwalk at Stamford to this Court.

                                                    THE DEFENDANT,

                                                    ANDREW T. OSINSKI



                                                    BY:/s/_____________________________
                                                      Scott M. Harrington/ct02482
                                                      DISERIO MARTIN O’CONNOR &
                                                           CASTIGLIONI LLP #102036
                                                      One Atlantic Street
                                                      Stamford, CT 06901
                                                      (203) 358-0800
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                                         CERTIFICATION

          This is to certify that a true copy of the foregoing was sent to all counsel and parties of
record:

Marc L. Zaken, Esq.
John G. Stretton, Esq.
Edwards & Angell, LLC
Three Stamford Plaza
301 Tresser Boulevard
Stamford, CT 06901

Dated: Stamford, CT
       1/5/05


                                                       /s/__________________________________
                                                       Scott M. Harrington/ct02482
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